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|N THE UN|TED STATES D|STR|CT COURT iii-159 *W~--¢ --

 

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P|aintiff
vs.

cR. No_ 05-20150-0

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Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on lV|ay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

report date of Thursdav, Julv 21, 2005. at 9:00 a.m., in Courtroom 3 ch F|oor ofthe

 

Federa| Building, |Viemphis, TN.

The period from l\/lay 19, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(S)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

iT is so 0RDERED this 52 day of May, 2005.

 
   

s NicE B. DoNALo
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This notice confirms a copy of the document docketed as number 17 in
case 2:05-CR-20150 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

ESSEE

 

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

